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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK

PFIZER INC.
                      Plaintiff,

       v.
                                                          Case: ____________________
UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES,
200 Independence Avenue SW
Washington, DC 20201;

AND

ALEX M. AZAR II, in his official capacity
as Secretary of Health and Human Services,
200 Independence Avenue SW
Washington, DC 20201;

AND

UNITED STATES DEPARTMENT OF HEALTH
AND HUMAN SERVICES OFFICE OF
INSPECTOR GENERAL,
330 Independence Avenue SW
Washington, DC 20201;

AND

CHRISTI A. GRIMM, in her official capacity as
Principal Deputy Inspector General of and Senior
Official in the U.S. Department of Health and
Human Services Office of Inspector General,
330 Independence Avenue SW
Washington, DC 20201,
                      Defendants.

                    COMPLAINT FOR DECLARATORY JUDGMENT

       Plaintiff Pfizer Inc. (“Pfizer”) seeks a declaratory judgment against Defendants the United

States Department of Health and Human Services (“HHS”), Alex M. Azar II in his capacity as the

Secretary of HHS, the HHS Office of Inspector General (“OIG”), and Christi A. Grimm in her
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capacity as the Principal Deputy Inspector General of and Senior Official in OIG, and in support

thereof, states as follows:

                                        INTRODUCTION

       1.        Pfizer brings this declaratory judgment action to enable it to provide financial

assistance to Medicare beneficiaries who are otherwise unable to afford Vyndaqel® (tafamidis

meglumine) or VyndamaxTM (tafamidis) (collectively, “tafamidis” or the “Medications”)—two

important medical advances and the only pharmacological treatments approved by the U.S. Food

and Drug Administration (“FDA”) for a rare and fatal heart condition called Transthyretin

Amyloid Cardiomyopathy (“ATTR-CM”). Without this Court’s intervention, Pfizer is unable to

provide this financial assistance because of the significant risk of a criminal or other government

enforcement action arising from erroneous legal restrictions imposed by OIG. As a consequence,

without relief from this Court, Medicare beneficiaries who are unable to afford copay obligations

under the Medicare Part D prescription drug benefit will continue to be denied access to their

Medicare benefits and these life-changing medical breakthroughs.

       2.        The governmental restrictions that are denying patients access to their prescribed

medications are a direct result of a series of actions by OIG that, in combination, prevent

pharmaceutical manufacturers from providing copay assistance to Medicare Part D beneficiaries,

including in the circumstances of Pfizer’s proposed programs, on the theory that such assistance

constitutes an unlawful kickback. Accordingly, before providing financial assistance to Medicare

Part D beneficiaries who cannot afford the out-of-pocket costs of tafamidis, Pfizer is forced to seek

a declaratory judgment from this Court that its proposed programs do not violate federal anti-

kickback laws.




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         3.       ATTR-CM is a rare medical condition affecting the heart muscle, causing the heart

to stiffen and thereby limiting its ability to pump blood to the body. Patients with ATTR-CM

experience a progressive decline in function, beginning with fatigue and shortness of breath and

ending with potential heart failure, inability to perform even the most basic daily activities, and

eventually death. ATTR-CM disproportionately affects individuals over the age of 60 and, in the

United States, the hereditary form of the disease primarily afflicts African-American men. No

cure exists for ATTR-CM, and, prior to the availability of tafamidis, life expectancy typically was

only 2 – 3.5 years from the time of diagnosis. The precise number of people who suffer from

ATTR-CM is unknown because the disease historically has been underdiagnosed, but Pfizer

estimates the prevalence to be approximately 100,000 – 150,000 patients in the United States based

on the best available peer-reviewed literature. FDA confirmed that ATTR-CM is a rare disease

under the Orphan Drug Act, a federal statute passed to encourage the development of treatments

for such rare conditions.1

         4.       The Medications are the first and only FDA-approved pharmacological treatments

for ATTR-CM. Tafamidis was developed after more than a decade of scientific research—

including extensive bench testing, animal studies, and clinical trials—and has been shown to

significantly reduce mortality, decrease cardiovascular related hospitalizations, and slow the

decline in quality of life for people suffering with ATTR-CM. Its approval is a major medical

advance that offers real hope to patients suffering with this devastating condition.




1
  Pub. L. No. 97-414, § 1, 96 Stat. 2049 (1983) (codified at 21 U.S.C. § 360bb(a)(2)). The Orphan Drug Act defines
a “rare disease or condition” as one “which (A) affects less than 200,000 persons in the United States, or (B) affects
more than 200,000 in the United States and for which there is no reasonable expectation that the cost of developing
and making available in the United States a drug for such disease or condition will be recovered from sales in the
United States of such drug.” 21 U.S.C. § 360bb(a)(2).



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       5.       The Medications have a list price of $225,000 for a one-year course of treatment,

which is well below comparable novel therapies approved to treat other rare diseases. That price,

moreover, is consistent with the Medications’ strong efficacy and safety profile, its slowing of the

decline in functional status and quality of life, and the relatively small population of patients with

ATTR-CM. The Medications also cost substantially less than a dual heart and liver transplant,

which is the other potential treatment option for patients with ATTR-CM.

       6.       Due to the age of the affected population, most ATTR-CM patients are Medicare

beneficiaries. Most Medicare plans provide full coverage for tafamidis at the list price, provided

prior authorization criteria are met. However, under the standard Medicare Part D benefit

structure, a patient must pay significant out-of-pocket costs for tafamidis—approximately $13,000

annually. These costs are prohibitively expensive for many patients. But, because Part D has no

cap on beneficiaries’ out-of-pocket costs, and because patients are responsible for a coinsurance

or percentage of the cost, a reduction in tafamidis’ list price—even by half—would not enable

many patients to afford the out-of-pocket costs. The result is that tafamidis is only affordable to

those patients wealthy enough to pay the out-of-pocket costs or those with incomes so low that

Medicare waives most of the out-of-pocket costs under the Low Income Subsidy program. The

crux of this action is the legality of Pfizer’s efforts to help ATTR-CM patients caught between

those financial extremes, who cannot afford to fill their doctor’s prescription for the Medications

even though they would benefit from these breakthrough treatments.

       7.       Pfizer is committed to helping ensure that all patients suffering from ATTR-CM

can afford these breakthrough Medications. To address that need, Pfizer currently makes the

Medications available for free to all ATTR-CM patients—including those on Medicare—who are

prescribed the Medications and have annual income up to 500% of the Federal Poverty Level (i.e.,




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$86,200 for a family of two in 2020). However, there remain many Medicare patients with

incomes above this level who have been prescribed the Medications but are unable to afford the

copay and coinsurance requirements of Medicare Part D. Therefore, Pfizer proposes to implement

copay assistance programs for middle-income Medicare patients with demonstrated financial need

who do not qualify for the other available assistance options. Pfizer already offers a similar

program for commercially insured patients, without regard to financial need.

       8.       These proposed Medicare programs—collectively referred to as “Proposed Copay

Assistance Programs” or “Programs”—include (1) directly providing copay and coinsurance

assistance to Medicare patients through a copay card or coupon (the “Direct Copay Assistance

Program”) and (2) funding an existing independent charity that would provide copay assistance to

Medicare patients diagnosed with ATTR-CM who require financial support to access tafamidis as

well as any other prescription drugs used to treat the symptoms of the disease and any potential

side effects of its treatment (the “Independent Charity Program”).

       9.       As detailed below, Pfizer’s proposed Programs do not violate federal statutes—

specifically the Anti-Kickback Statute, see Social Security Act, §§ 1128(b)(7) and 1128A(a)(7),

(“AKS”) and the Beneficiary Inducement Statute, see id. § 1128A(a)(5), (“BIS”)—that prohibit

kickbacks made with the intent to corrupt medical decision making at the expense of federal health

care programs. Rather, the proposed Programs are designed to ensure that financial obstacles do

not prevent patients from accessing these breakthrough treatments after a physician has objectively

determined that a patient has ATTR-CM and prescribed the only FDA approved medications for

this terminal disease. Under such circumstances, the Programs do not constitute an illegal

kickback.




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       10.     However, as the result of a series of actions by OIG, Pfizer is unable to implement

its proposed Programs to assist ATTR-CM patients. Together, these actions establish OIG’s

position that the AKS and the BIS prohibit pharmaceutical manufacturers (but not others) from

providing financial assistance to help Medicare patients cover their out-of-pocket costs,

irrespective of the circumstances. OIG has further limited aid to patients by construing the AKS

and BIS to impose strict restrictions on pharmaceutical manufacturers’ ability to fund and

communicate with independent charities that provide financial assistance to Medicare patients.

Meanwhile, OIG, in conjunction with the U.S. Department of Justice (“DOJ”), has taken

aggressive steps to enforce OIG’s strict construction of the AKS and BIS in enforcement actions

against pharmaceutical manufacturers who have provided copay assistance or contributed to

independent charities that provided financial assistance to Medicare patients. As a result, without

a declaration from this Court, Pfizer is prevented from taking action inconsistent with OIG’s

construction of these statutes.

       11.     Pfizer supports OIG’s mission to enforce the AKS and the BIS to prevent fraud and

abuse in the health care system, and nothing in this Complaint should be viewed as an effort to

undermine that important goal. But Pfizer disagrees with OIG that the AKS and BIS properly can

be construed to prohibit copay assistance when, as in the circumstances of the proposed Programs,

the copay assistance does not constitute “remuneration” and is not intended to influence

prescriptions for the Medications in the kind of corrupt or improper way addressed by those

statutes. For the past year, Pfizer has engaged with OIG through a formal advisory opinion process

to obtain OIG’s acknowledgement that Pfizer’s proposed Programs fall outside the proscriptions

of the AKS and BIS, and to obtain OIG’s guidance on how the Programs might be modified to

address any concerns the agency might have. OIG has refused, however, to acknowledge that




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Pfizer’s proposed Programs are legal under the AKS and BIS, or to suggest proposed

modifications. As a result of OIG’s rejection of Pfizer’s request and the agency’s prior guidance

prohibiting pharmaceutical manufacturers from providing copay assistance to Medicare

beneficiaries, Pfizer faces significant risks of criminal or other enforcement action if it proceeds

with these Programs. Where, as here, Pfizer respectfully disagrees with OIG’s conclusion that its

proposed Programs would violate those statutes, it is left with no alternative but to seek judicial

relief. Pfizer and the very sick patients who will be denied these critical Medications are out of

alternatives.

        12.     In addition, significant First Amendment concerns would be raised if the AKS and

BIS were construed, as OIG does, to restrict pharmaceutical manufacturers’ communications with

and donations to independent charities that provide financial assistance to Medicare patients.

OIG’s construction burdens Pfizer’s established rights to participate in a charitable endeavor and

engage in expressive giving in support of patients suffering from ATTR-CM, and improperly

singles out pharmaceutical manufacturers for special restrictions on this type of charitable giving.

OIG’s position, which prohibits certain communications with independent charities concerning

financial assistance, is not narrowly tailored to a compelling government interest in combatting

fraud or abuse, and therefore violates the First Amendment’s Free Speech guarantee.

        13.     OIG’s position on copay assistance leads to perverse and unequal results depending

on a Medicare beneficiary’s economic status. Under OIG’s position, Medicare provides insurance

benefits for the Medications for the wealthiest and the poorest Medicare ATTR-CM patients, but

effectively denies this same insurance benefit to similarly situated middle-income patients. The

wealthiest enrollees can afford tafamidis’ out-of-pocket costs; the poorest enrollees will have their

out-of-pocket obligations satisfied by Medicare’s Low Income Subsidy. For each of these




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groups—the wealthiest and the poorest—Medicare pays the remaining share of the Medication’s

costs.   But middle-income Medicare ATTR-CM patients who cannot afford the copay and

coinsurance for the Medications forgo filling their prescriptions, and Medicare pays nothing. OIG

takes the view that any manufacturer who helps those middle-income patients with their out-of-

pocket costs has committed health care fraud and may be subject to prosecution or other

enforcement action under the AKS and BIS. That interpretation effectively bars middle-income

Medicare recipients from accessing their federal health care insurance benefits based solely on

their economic status. Such a fundamentally irrational application of the Medicare Part D benefit

scheme would violate the equal protection principles enshrined in the Fifth Amendment’s Due

Process Clause. The AKS and BIS should be interpreted to avoid these constitutional concerns.

         14.   Accordingly, Pfizer requests a declaration that the Proposed Copay Assistance

Programs do not violate the AKS or the BIS.

                                         THE PARTIES

         15.   Plaintiff Pfizer Inc. is a research-based biopharmaceutical company that develops

and manufactures medicines for patients across the globe. Pfizer strives to develop breakthrough

therapies that change people’s lives, with a focus on internal medicine, inflammation and

immunology, oncology, rare diseases, vaccines, sterile injectables, and anti-infectives. Pfizer

devotes billions of dollars annually to research in these areas and has developed numerous

breakthrough treatments. Pfizer is committed to funding programs that provide public benefit,

advance medical care, and improve patient outcomes. To this end, Pfizer collaborates with health

care providers, governments, and local communities to support and expand access to reliable,

affordable health care. Pfizer is a Delaware corporation with its principal place of business at 235

East 42nd Street, New York, New York 10017.




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       16.     Defendant United States Department of Health and Human Services (“HHS”) is an

executive department of the United States. HHS oversees multiple health care-related agencies

including the Centers for Medicare & Medicaid Services (“CMS”). HHS’s headquarters are in

Washington, D.C.

       17.     Defendant United States Department of Health and Human Services Office of

Inspector General (“OIG”) is an office within HHS that was established in 1976. OIG oversees

aspects of the Medicare and Medicaid programs, including through efforts to promote efficiency

and economy in departmental operations and to identify and eliminate fraud, abuse, and waste in

those programs. The Secretary of HHS has delegated to OIG authority to exclude individuals and

entities from participation in federal health care programs, prohibiting payment for any product or

service the excluded entity or individual furnishes. The Health Care Fraud and Abuse Control

Program, established by the Health Insurance Portability and Accountability Act of 1996

(“HIPAA”), authorizes OIG to provide guidance to the health care industry about potential

problems or areas of special interest. OIG’s headquarters are in Washington, D.C.

       18.     Defendant Alex M. Azar II is sued in his official capacity as Secretary of HHS, the

most senior official in the department. Under section 1128 of the Social Security Act, as Secretary

of HHS, Secretary Azar has direct authority to exclude from participation in federal health care

programs any individual or entity convicted of certain offenses or deemed by the Secretary to have

engaged in certain improper conduct. Secretary Azar directly supervises the Inspector General

and is thus responsible for any guidance that OIG issues as well as OIG’s statutory and regulatory

enforcement activities.

       19.     Defendant Christi A. Grimm is sued in her official capacity as Principal Deputy

Inspector General of and senior official in OIG. As Principal Deputy Inspector General, Ms.




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Grimm is the senior official at OIG and is responsible for its oversight, guidance, rule-making

process, and enforcement activities, including its delegated exclusion authority.

                                   JURISDICTION AND VENUE

        20.     Pfizer brings this action pursuant to the First and Fifth Amendments to the United

States Constitution, the Declaratory Judgment Act, 28 U.S.C. §§ 2201-02, and the Administrative

Procedure Act, 5 U.S.C. § 702.

        21.     This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1361 because

Pfizer’s causes of action arise under the United States Constitution and laws of the United States.

        22.     Venue is proper pursuant to 28 U.S.C. § 1391(e) because Pfizer’s principal place

of business is in this judicial district.

        23.     There is currently an actual, justiciable controversy between the parties regarding

whether Pfizer may, consistent with the AKS and BIS, provide assistance to middle-income

Medicare Part D beneficiaries to help them access Pfizer’s breakthrough ATTR-CM therapies.

        24.     Declaratory relief will resolve this controversy and eliminate the chill that the

government’s interpretation of the statutes and regulations currently has on Pfizer’s ability to

provide copay assistance.

      PFIZER PROPOSES TO PROVIDE FINANCIAL ASSISTANCE TO ALLOW
      MEDICARE PART D BENEFICIARIES TO ACCESS ITS BREAKTHROUGH
               THERAPIES FOR A FATAL CARDIAC CONDITION

        Transthyretin Amyloid Cardiomyopathy (“ATTR-CM”) and its Patient Population

        25.     ATTR-CM is a rare, progressive cardiac condition characterized by deposits of

amyloid protein in the heart muscle. Left untreated, a patient with ATTR-CM may suffer

progressive heart failure, including severe shortness of breath and limitations on physical activity,

which may end in death. In the latter stages of the disease, patients may have difficulty performing

even the most basic activities of daily living and frequently require full-time care. Prior to the


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availability of tafamidis, patients with ATTR-CM had a median life expectancy of 2 – 3.5 years

from diagnosis.

       26.     Diagnosis of ATTR-CM is made objectively by heart biopsy or nuclear

scintigraphy (an imaging technology).

       27.     The precise number of people who suffer from ATTR-CM is unknown. It is

estimated that approximately 100,000 – 150,000 Americans may have the disease, which

disproportionately affects the elderly. Most ATTR-CM patients are Medicare beneficiaries and

many have limited financial resources.

       Pfizer’s Development of Tafamidis to Treat ATTR-CM

       28.     Tafamidis is the result of nearly two decades of research and testing. While not a

cure, tafamidis offers ATTR-CM patients hope for a longer and better life and may provide a

bridge to future therapies.

       29.     Before development of tafamidis, no FDA-approved pharmacological treatments

existed for ATTR-CM. A small number of ATTR-CM patients have undergone dual heart and

liver transplants, in hopes of curing the disease, or at least improving their prognosis. These

procedures have had some success, but limited application in practice, because most patients with

ATTR-CM are too sick and have too many other medical problems to meet transplant criteria.

Furthermore, the total cost of an individual patient’s transplants can exceed $2 million.

       30.     The tafamidis molecule first was developed in the early 2000s. Over the next

decade, extensive laboratory, pre-clinical, and clinical studies evaluated both the safety and

efficacy of the molecule. As with other investigational medicines for rare diseases, these studies

were undertaken even though, at the outset, the likelihood of success was very low.

       31.     Substantial research and development time and costs are required to develop novel

therapies like tafamidis. The development of medicines for rare diseases, like ATTR-CM, is


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complicated by the fact that the diseases typically are not well characterized or understood,

appropriate efficacy endpoints are not defined, and patient populations are very small.

        32.      These unique challenges make development of medicines for rare diseases even

more difficult and expensive. As a consequence of these hurdles, the cost of developing medicines

for rare (and other) diseases has continued to rise. As the Office of Health Economics, a British

research entity, observed in 2012, biopharmaceutical companies’ out-of-pocket drug development

expenditures have risen by 600% since the 1970s, while success rates for bringing these

developments to market have fallen, making it more expensive than ever for manufacturers to

develop rare disease medications.2

        Pfizer’s Successful Clinical Trials Demonstrate Tafamidis’ Safety and Efficacy in
        Extending Life for ATTR-CM Patients

        33.      Pfizer acquired rights to the tafamidis molecule in 2010. In 2012, FDA granted

Pfizer orphan drug designation for the development of tafamidis as a treatment for ATTR-CM.

Orphan drug designation is a special status FDA may grant to drugs that treat a rare disease, where

both the drug and the disease meet certain regulatory and statutory criteria specified in the Orphan

Drug Act, 21 U.S.C. § 360bb, and FDA’s implementing regulations, 21 CFR Part 316. Orphan

designation qualifies the sponsor of the drug for various development incentives designed to

encourage innovation of treatments for rare diseases.

        34.      In 2013, Pfizer began enrollment in the landmark Transthyretin Amyloid

Cardiomyopathy Clinical Trial (“ATTR-ACT”), which was an international, multicenter, double-

blind, placebo-controlled, randomized clinical trial designed to evaluate the efficacy and safety of

tafamidis in patients with hereditary and wild-type ATTR-CM. ATTR-ACT was the largest



2
 Jorge Mestre-Ferrandiz et al., Office of Health Economics, The R&D Costs of a New Medicine (Dec. 2012),
https://www.ohe.org/publications/rd-cost-new-medicine#.



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multicenter investigation of a treatment for ATTR-CM ever conducted, and it was completed after

approximately six years in February 2018.

         35.      The study was sponsored by Pfizer and conducted by leading researchers at some

of the most prominent medical institutions in the world, including Columbia University, the Mayo

Clinic, Stanford University, the Cleveland Clinic, University College London and St.

Bartholomew’s Hospital, London, and the French Referral Center for Cardiac Amyloidosis.

         36.      The study demonstrated tafamidis’ value as a breakthrough therapy that changes

the lives of patients with ATTR-CM, who until now had no approved medicines for this rare,

debilitating, and fatal disease.

         37.      As reported in the September 13, 2018, issue of the New England Journal of

Medicine, the combination of all-cause mortality and cardiovascular-related hospitalizations (the

primary endpoint of the study) was significantly lower among patients who received tafamidis than

among those who received placebo: patients treated with tafamidis had a 30% lower all-cause

mortality rate and experienced 32% fewer cardiovascular-related hospitalizations than those

taking placebo. At the end of the trial, 70% of tafamidis patients were alive, compared to only

57% of those receiving placebo.

         38.      More recent data demonstrates tafamidis’ immense value to public health. For

example, extrapolation of data from the ATTR-ACT study indicates an approximately 18-

month increase in median overall survival for patients treated with tafamidis as compared to

those receiving placebo.3



3
  See Benjamin Li et. al, Extrapolation of Survival Benefits in Patients with Transthyretin Amyloid Cardiomyopathy
Receiving Tafamidis: Analysis of the Tafamidis in Transthyretin Cardiomyopathy Clinical Trial. Cardiology and
Therapy (Apr. 13, 2020), https://doi.org/10.1007/s40119-020-00179-2; Kumar Dharmarajan and Mathew Maurer,
Transthyretin Cardiac Amyloidoses in Older North Americans, J. Am. Geriatric Society (Feb. 13, 2012),
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3325376/.



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        39.      Tafamidis treatment significantly reduced the decline in patients’ functional

capacity and quality of life compared to placebo. Given the progressive nature of the disease

and the mechanism through which it acts, tafamidis is expected to have greater benefit when

administered early in the disease course.

        40.      Tafamidis was well tolerated in the trial, with a safety profile comparable to

placebo and a rate of permanent discontinuation due to adverse events similar to placebo.

        41.      Based on the results of ATTR-ACT, FDA designated tafamidis a Breakthrough

Therapy—a designation reserved for medications “that are intended to treat a serious condition

and [for which] preliminary clinical evidence indicates that the drug may demonstrate

substantial improvement over available therapy on a clinically significant endpoint(s).”4

        FDA Approves Tafamidis as the Only Drug to Treat ATTR-CM

        42.      On May 3, 2019, the FDA approved tafamidis for the treatment of ATTR-CM to

reduce cardiovascular mortality and cardiovascular-related hospitalization.

        43.      Tafamidis is the first and only medicine approved in the United States for treatment

of ATTR-CM.

        44.      The director of the Division of Cardiovascular and Renal Drugs in the FDA’s

Center for Drug Evaluation and Research described tafamidis as “an important advancement

in the treatment of the cardiomyopathy caused by transthyretin-mediated amyloidosis.”5




4
 See FDA, Breakthrough Therapy, https://www.fda.gov/patients/fast-track-breakthrough-therapy-accelerated-
approval-priority-review/breakthrough-therapy (last visited June 14, 2020).
5
  FDA, FDA Approves New Treatments for Heart Disease Caused by a Serious Rare Disease, Transthyretin
Mediated Amyloidosis, (May 6, 2019), https://www.fda.gov/news-events/press-announcements/fda-approves-new-
treatments-heart-disease-caused-serious-rare-disease-transthyretin-mediated.


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        The Effect of the Medicare Benefit Design is to Hinder Access to Tafamidis for
        Middle-Income Americans

        45.       Medicare is a federal health insurance program that covers individuals age 65 and

older, as well those under age 65 with certain disabilities or conditions. Congress enacted

Medicare Part D in 2003. 42 U.S.C. § 1395w-101 et seq.; Medicare Prescription Drug,

Improvement, and Modernization Act of 2003, Pub. L. No. 108-173, 117 Stat. 2066 (2003).

Through Part D, Congress made outpatient prescription coverage available to Medicare

beneficiaries through private insurance plans, which are approved by Medicare. As of 2019, the

Part D program covered 45 million Americans, representing approximately 70% of all Medicare

beneficiaries.6

        46.       Congress included a cost-sharing feature in Medicare Part D plans. Under this cost-

sharing scheme, the insured patient’s out-of-pocket expense for medications is largely driven by

the Medicare Part D benefit structure, which has several “phases”:

                  a.      Deductible. Beneficiaries are responsible for a deductible of $435 in 2020,

        meaning they pay 100% of the first $435 in eligible prescription costs.

                  b.      Initial Coverage Phase. After beneficiaries have satisfied the deductible,

        they enter the initial coverage phase, in which they are responsible for a 25% coinsurance

        payment on any costs up to the initial coverage limit, which in 2020 is $4,020 for combined

        prescription medication spending by the beneficiary and the Part D plan.

                  c.      The “Coverage Gap.” Once combined prescription medication spending

        by the beneficiary and plan hits the initial coverage limit ($4,020 in 2020), beneficiaries

        enter a “coverage gap” phase, often referred to as the “donut hole.”                      In the past,


6
 Juliette Cubanski et al., 10 Things to Know about Medicare Part D Coverage and Costs in 2019, Kaiser Family
Foundation, (June 4, 2019), https://www.kff.org/medicare/issue-brief/10-things-to-know-about-medicare-part-d-
coverage-and-costs-in-2019/.



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         beneficiaries were responsible for almost all costs when they reached the “donut hole.” In

         more recent years, as a result of changes brought about by the Affordable Care Act, the

         manufacturer has become responsible for the majority of medication costs during this

         phase. Still, in 2020, beneficiaries must cover 25% coinsurance payments in this “coverage

         gap” phase, until they have spent $2,652 out of pocket (inclusive of deductible and initial

         coverage coinsurance) and reach the catastrophic coverage threshold.7

                  d.       Catastrophic Coverage.           Beneficiaries enter the catastrophic coverage

         phase after their out-of-pocket spending, including during the “coverage gap” phase,

         reaches $2,652. After beneficiaries reach that threshold, they must continue to pay 5% of

         the cost of brand-name medications for the remainder of the coverage year. There is no

         financial cap on the amount that a patient can be required to pay for their medicine in a

         given year.

         47.      The below graphic details the standard Part D cost-sharing structure for brand-name

         medications as of 2020:




7
  This $2,652 figure (nearly 17% increase from 2019) represents the amount that a patient must personally pay out
of pocket before reaching the catastrophic coverage threshold if the patient is using only branded medications. If a
patient uses a mix of branded and generic medications, the patient’s out-of-pocket cost before reaching the
catastrophic coverage phase could vary. In addition, to the patient contribution, manufacturers contribute $3,698, for
a total co-insurance of $6,350 that the plan does not cover. Juliette Cubanski, and Tricia Neuman, How Will The
Medicare Part D Benefit Change Under Current Law and Leading Proposals?, Kaiser Family Foundation (Oct. 11,
2019), https://www.kff.org/medicare/issue-brief/how-will-the-medicare-part-d-benefit-change-under-current-law-
and-leading-proposals/.



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       48.     Depending on the enrollee’s financial situation and the cost of the medicines they

may need, Medicare Part D’s cost-sharing structure can become financially onerous. In theory,

cost sharing is intended to encourage patients to evaluate the need for discretionary care and to

consider less expensive alternatives when available. But, in some cases, the Medicare Part D

benefit design and patient cost-sharing obligations operate to put even medically necessary

treatment out of reach for patients.

       49.     Congress made clear that it did not intend cost sharing to operate as a mechanism

to ration access to essential medications (or to limit Part D benefits to only those wealthy enough

to afford copay or coinsurance amounts). To mitigate against that result, Congress included in

Medicare a Low Income Subsidy (“LIS”) program that limits the impact of the Medicare Part D

cost-sharing structure by providing additional coverage to patients falling below 150% of the

Federal Poverty Level. To qualify for Medicare’s LIS program, patients must earn less than


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$19,140 annually. As a result of this income threshold, LIS assistance is unavailable to the

majority of Medicare beneficiaries: of the approximately 45 million Part D enrollees in 2016, only

an estimated 13 million (29%) qualified for the LIS program. 8

        50.      Some patients for whom LIS is unavailable may obtain financial assistance through

charities or from manufacturer-supported free drug programs, such as Pfizer’s free drug program

for tafamidis. If neither charitable assistance nor free medication is available, then a patient who

is not wealthy but does not qualify for the LIS program may be forced to forgo treatment. Even

where charitable assistance is obtained initially, a patient is not assured that it will continue to be

available to help the patient with copays on a long-term basis.

        51.      Indeed, there is evidence that at least one quarter of new Medicare Part D

prescriptions are abandoned if patients are asked to pay $50 or more (which is why Pfizer proposes

a copay of $35 in its Proposed Programs).9 The problem becomes more acute for beneficiaries

with cancer or rare diseases, where the cost of developing treatments and a smaller patient

population results in the manufacturer charging higher prices. Despite the severity of these

diseases, the higher out-of-pocket costs of these medications cause many prescriptions to go

unfilled and patients to go without treatment. In one study, 49% of cancer patients who had out-

of-pocket costs over $2,000 did not fill their prescriptions. By comparison, the rate of unfilled

prescriptions was only 10% amongst patients paying less than $10 for their prescriptions. 10



8
 Jack Hoadley et al., Medicare Part D in 2016 and Trends over Time, Kaiser Family Foundation, (Sept. 16, 2016),
https://www.kff.org/report-section/medicare-part-d-in-2016-and-trends-over-time-section-4-the-low-income-
subsidy-program/.
9
  Drug pricing in America: A prescription for Change, Part II, Hearing Before the Senate Comm. on Finance, 116th
Cong 66 (2019) (prepared statement of Albert Bourla, DVM, Ph.D., Chief Executive Officer, Pfizer).
https://www.finance.senate.gov/imo/media/doc/37143.pdf.
10
  Jalpa A. Doshi, et al., Association of Patient Out-of-Pocket Costs with Prescription Abandonment and Delay in
Fills of Novel Oral Anticancer Agents, J. of Clinical Oncology 476, (Feb. 10, 2018),
https://ascopubs.org/doi/full/10.1200/JCO.2017.74.5091.



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       52.     Tafamidis exemplifies the challenges to patient affordability resulting from

Medicare’s benefit design when it is applied to medicines that treat a rare disease and are,

consequently, more expensive. Under the Medicare Part D benefit structure, a patient must

pay approximately $13,000 in annual out-of-pocket expenditures for tafamidis, based on

mandatory coinsurance through certain Part D phases (i.e., deductible, initial benefit limit,

coverage gap, and catastrophic) and certain formulary tiers (e.g., specialty tier). This expense

presents a prohibitive financial barrier for a significant proportion of Medicare patients.

       53.     Reduction in drug prices will not solve the affordability problem for innovative

orphan drugs like tafamidis under Medicare Part D’s benefit structure. That is because Medicare

Part D front loads costs by requiring patients to pay at least $2,652 of their medicines’ costs

before they reach the catastrophic coverage phase of the benefit—an onerous threshold that

prevents access to most innovative orphan drug treatments. Moreover, after a beneficiary hits

the catastrophic coverage phase, Part D’s lack of an out-of-pocket spending cap means patients are

still responsible for significant co-insurance costs. Thus, even if tafamidis’ price were cut in half,

the $2,652 initial out-of-pocket costs to patients would not be reduced at all and the total cost to

patients, approximately $8,000 annually, would remain prohibitive for most patients.

       54.     For many Part D enrollees, spending thousands of dollars in annual prescription

expenses is beyond their means. Those patients will not be able to fill their prescription and,

without assistance, will be forced to forgo the treatment.

       55.     The result is that, without assistance, many ATTR-CM patients will not be able

to afford the Medications that can help extend their lives.

       56.     The Medicare Part D statute or regulations do not directly prohibit

manufacturers or other entities from providing copay assistance to Medicare patients.




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       57.     As discussed below, however, OIG has construed the AKS and BIS to

categorically ban manufacturers, but not others, from offering copay assistance to Medicare

patients under any circumstances. OIG’s interpretation of those statutes also substantially

restricts manufacturer support of independent charities that could provide such financial

support. That construction improperly expands the prohibitions in the AKS and BIS, which

are aimed at preventing fraud and bribery in medical decision-making. In so doing, OIG’s

position broadly blocks patients’ access to Medicare coverage in a manner not contemplated

by Congress when it established the Part D program.

       Pfizer’s Proposed Copay Assistance Programs Would Allow Medicare Patients to
       Access these Breakthrough, Life-Extending Medications

       58.     Pfizer’s Proposed Copay Assistance Programs would help ensure that financial

obstacles do not prevent ATTR-CM patients, who have been appropriately prescribed tafamidis,

from receiving the medication. More specifically, Pfizer proposes two possible solutions to

facilitate patient access. Pfizer seeks to provide financial assistance to such patients to help them

cover out-of-pocket expenses (copay and coinsurance) through the Direct Copay Assistance

Program and/or the Independent Charity Program, which would mean funding an existing

independent charity that would provide copay assistance to patients diagnosed with ATTR-CM

who require financial support to access tafamidis (the only FDA-approved treatment for the disease

state) as well as any other ancillary prescription drugs used to treat the symptoms of the disease

and any potential side effects of treatment. Collectively, these are described as the “Proposed

Copay Assistance Programs.”

       59.     If Pfizer were to implement the Proposed Copay Assistance Programs, the out-

of-pocket cost for eligible patients with Medicare insurance would be $35 per month for

tafamidis.



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       60.    The following paragraphs outline the proposed Programs that Pfizer has designed

to help middle-income Medicare patients access the Medications. As discussed below, Pfizer

submitted to OIG a request for an advisory opinion on the permissibility of the Proposed Copay

Assistance Programs, as characterized herein. OIG refused to issue an advisory opinion on the

Independent Charity Program and has informed Pfizer that it has reached an unfavorable opinion

on the Direct Copay Assistance Program. At this juncture, Pfizer cannot proceed with either of

the Proposed Copay Assistance Programs without facing a significant and imminent risk of

enforcement action.

       A.     Direct Copay Assistance Program

       61.    The proposed Direct Copay Assistance Program would provide copay assistance

directly to eligible Medicare Part D beneficiaries to help them pay the costs required to

matriculate through the Part D deductible, initial coverage phase, and coverage gap and then to

assist patients with affording the 5% coinsurance required during the catastrophic phase.

       62.    To be eligible to receive copay assistance under this Program, patients must: (1)

be prescribed tafamidis for an on-label (approved) indication, that is, ATTR-CM; (2) be United

States residents; and (3) meet program criteria for financial need tailored to address the burden

otherwise faced by middle-income patients who are unable to access other available resources.

Part D beneficiaries meeting those requirements who enroll in the program would pay a copay

of $35 per month, after which Pfizer would pay 100% of each enrolled Medicare Part D

beneficiary’s monthly deductible or coinsurance amounts for tafamidis.

       63.    Pfizer would not advertise its Direct Copay Assistance Program or use it as a

means to solicit new patients for tafamidis. Rather, the Direct Copay Assistance Program

would offer copay assistance only after a physician diagnoses a patient with ATTR-CM and

decides to prescribe tafamidis.


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       64.     Nor would Pfizer routinely provide copay assistance to all patients prescribed

tafamidis. Rather, patients requesting assistance through the Direct Copay Assistance Program

would be individually evaluated, on a case-by-case income determination, based on a uniform

measure of financial need, to ensure that patients meet the Program requirements. Pfizer would

require patients to provide appropriate documentation to substantiate those financial need

determinations.

       65.     The Direct Copay Assistance Program provides no financial incentive to

physicians to favor tafamidis. Prescribers would exercise independent medical judgment on

whether a patient should use tafamidis based on its efficacy and safety for treating ATTR-CM,

after objective diagnosis of that condition and based on each patient’s medical profile and

treatment needs. Prescribers would receive no benefit from the program. Indeed, physicians

currently prescribe tafamidis to ATTR-CM patients covered by Medicare in the absence of any

direct copay assistance program, and they do so because tafamidis is the only approved

medication for this deadly disease and because of its proven clinical benefits.

       66.     The Direct Copay Assistance Program has no more impact on a physician’s

prescribing decision for impacted patients than does the existence of the LIS program for

indigent patients or the availability of existing financial assistance programs from Pfizer or any

other third-party source.

       67.     The Direct Copay Assistance Program would put middle-income Medicare

patients demonstrating financial need on similar footing as commercially insured patients suffering

from ATTR-CM, who already benefit from Pfizer’s copay assistance. The only difference between

these patients is the type of insurance to which they have access.




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        68.     Because no alternative pharmacologic therapies have been approved to treat

ATTR-CM (and a dual organ transplant is both far more expensive and rarely a viable option),

the proposed arrangement presents no risk of inappropriately steering ATTR-CM patients

toward tafamidis or improperly inducing prescriptions for tafamidis.

        69.     In summary, the Direct Copay Assistance Program will enable patients to access

the sole effective treatment for ATTR-CM and put middle-income patients on similar footing with

wealthy patients who can afford the out-of-pocket costs, low-income patients who qualify for LIS

subsidies, and commercially insured patients who have access to Pfizer’s analogous patient

assistance programs. The Program will advance Medicare’s purpose and improve patient care,

and does not constitute an illegal kickback, as discussed below.

        B.      Independent Charity Program

        70.     Pfizer’s proposed Independent Charity Program would fund an existing

independent charity to develop a copay assistance fund specifically for ATTR-CM patients.

        71.     The independent charity would provide copay assistance to patients diagnosed with

ATTR-CM who require financial support to access tafamidis and any other prescription drugs used

to treat the symptoms of the disease and any potential side effects of treatment. These other

prescription drugs would include other manufacturers’ products, and they would be ancillary to

the treatment of the disease state itself.

        72.     Pfizer would communicate with the charity about the scope of the fund and funding

needs, but the charity would retain independence to establish patient eligibility criteria, to ensure

patients make a showing of financial need and have been appropriately prescribed tafamidis, and

to determine how to allocate funds.




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   PFIZER’S PROPOSED COPAY ASSISTANCE PROGRAMS ARE LAWFUL AS A
             MATTER OF PROPER STATUTORY CONSTRUCTION

       The Anti-Kickback Statute (“AKS”) and Beneficiary Inducement Statute (“BIS”)

       A.      The Anti-Kickback Statute (“AKS”)

       73.     The AKS is a criminal statute originally enacted as part of the Social Security

Amendments Act of 1972 to combat fraud and abuse in the Medicare and Medicaid programs.

       74.     The AKS prohibits any person from knowingly and willfully offering, paying,

soliciting, or receiving “remuneration” (i.e., a thing of value), directly or indirectly, in cash or in

kind, “to induce” the purchase, prescription, or recommendation of items or services payable under

a federal health care program. 42 U.S.C. § 1320a-7b(b)(2).

       75.     Conviction under the AKS can result in severe consequences for pharmaceutical

manufacturers, executives and employees, including the imposition of criminal or civil penalties

(including serving as the basis for liability under the False Claims Act), and/or administrative

sanctions. See 42 U.S.C. § 1320a-7(b)(15). Most dire for a pharmaceutical company, conviction

can serve as grounds to exclude the company and its products from reimbursement under federal

health care programs, including Medicare and Medicaid. 42 U.S.C. § 1320-7(a) and (b). Due to

the outsized role of federal health insurance in the health care sector, a pharmaceutical company

cannot afford the risk of exclusion.

       76.     Because the literal language of the AKS could be read very broadly and the

consequences of conviction are so severe, Congress has enacted various statutory exemptions for

different types of conduct that it would not want to deter. 42 U.S.C. § 1320a-7b(b)(3). The

statutory exceptions demonstrate that Congress intends for the AKS to apply only in circumstances

where the remuneration is intended to improperly or corruptly influence the relevant individual’s

decision-making.



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         77.      In addition, Congress ordered HHS to promulgate regulatory “safe harbors,” which

define certain types of payments and other arrangements that cannot be the basis for criminal or

civil liability even if they arguably might violate the literal language of the AKS if read broadly. 11

42 U.S.C. § 1320a-7b(b)(3)(E). OIG has adopted 28 safe harbors that are currently in effect.

         B.       The Benefit Inducement Statute (“BIS”)

         78.      The BIS, enacted as part of HIPAA in 1996, prohibits any person, organization, or

entity from “offer[ing] to or transfer[ing] remuneration to any individual eligible for [Medicare,

Medicaid or certain other federally funded State health care programs] . . . that such person knows

or should know is likely to influence such individual to order or receive from a particular provider,

practitioner, or supplier any item or service for which payment may be made, in whole or in part,”

under federal health care programs. 42 U.S.C. § 1320a-7a(a)(5). The BIS also carries significant

civil monetary penalties. Id. § 1320a-7a(a).

         C.       The “Remuneration” Element

         79.      Not all monetary payments qualify as “remuneration” under the BIS or under the

AKS’s implementing regulations. Even though “remuneration” can include “anything of value,”

the BIS statute and AKS regulations create an exception for copay waivers (the “Copay Waiver

Exception”). Under the BIS, waivers of coinsurance or deductibles are not “remuneration” if: (i)

the waiver is not offered as part of any advertisement or solicitation; (ii) the person does not

routinely waive coinsurance or deductible amounts; and (iii) the person waives the coinsurance




11
  The Senate Committee Report explained Congress’ intent in creating regulatory “safe harbors” as follows: “It is
the understanding of the Committee that the breadth of [the] statutory language has created uncertainty among
health care providers as to which commercial arrangements are legitimate, and which are proscribed. The
Committee bill therefore directs the Secretary, in consultation with the Attorney General, to promulgate regulations
specifying payment practices that will not be subject to criminal prosecution ... and that will not provide a basis for
exclusion from participation in Medicare or the State health care programs.” S. Rep. No. 109, 100th Cong., 1st Sess.
14 (1987), reprinted in 1987 U.S.C.C.A.N. News 682, 707.



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and deductible amounts after determining in good faith that the individual is in financial need or

fails to collect coinsurance or deductible amounts after making reasonable collection efforts. 42

U.S.C. § 1320a-7a(i)(6)(A). The regulations implementing the AKS create a similar Copay

Waiver Exception to the definition of “remuneration.” 42 C.F.R. § 1003.110.

        80.     In addition, the BIS creates an Access to Care Exception, which excludes from the

statutory definition of “remuneration” arrangements that “promote[] access to care” and pose a

low risk of harm to patients and federal health care programs. 42 U.S.C. § 1320a–7a(6)(D); 81

Fed. Reg. 88,368, 88,393 (Dec. 7, 2016) (regulations implementing Access to Care Exception).

        81.     According to OIG’s regulations, an arrangement will pose a low risk of harm under

the Access to Care Exception if it is “(1) . . . unlikely to interfere with, or skew, clinical decision

making; (2) … unlikely to increase costs to federal health care programs or beneficiaries through

overutilization or inappropriate utilization; and (3) [does] not raise patient safety or quality-of-care

concerns.” 81 Fed. Reg. 88,368, 88,396 (Dec. 7, 2016); 42 C.F.R. § 1003.110 (2017).

        82.     Through these regulations, OIG has acknowledged that not all programs that

eliminate financial obstacles that might prevent a patient from filling a prescription present a risk

of over or inappropriate utilization.

        83.     OIG has, however, prevented individuals or companies from independently taking

advantage of the statutory exception, by requiring them first to satisfy OIG that the exception is

warranted. By regulation, OIG places the burden on “anyone asserting this exception . . . of

presenting sufficient facts and analysis” to prove to OIG in advance that the particular arrangement

promotes access to care and poses no more than a low risk of harm to patients or federal health

care programs. 81 Fed. Reg. 88,368, 88,391 (Dec. 7, 2016).




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       D.      The “Inducement” Element

       84.     A payment only violates the AKS or BIS if it is provided “knowingly and

willfully . . . to induce” the purchase, prescription, or recommendation of items or services payable

under a federal health care program.

       85.     In order to satisfy the inducement element of the AKS and BIS, the government

must show that the defendant paid remuneration in an “attempt to gain influence over the reason

or judgment of that person,” where “that person” refers to the individual who received

remuneration under the preceding inquiry. United States v. Krikheli, 461 F. App’x 7, 10–11 (2d

Cir. 2012).

       86.     The requisite influence must be “improper,” see, e.g., United States v. TEVA

Pharm. USA, Inc., No. 13 CIV. 3702 (CM), 2016 WL 750720, at *17 (S.D.N.Y. Feb. 22, 2016);

Guilfoile v. Shields, 913 F.3d 178, 192–93 (1st Cir. 2019), and the accompanying remuneration

must be “offered or paid as a quid pro quo,” Krikheli, 461 F. App’x at 10–11. “[T]he government

[i]s required to prove that any payments . . . were made to induce referrals in a quid pro quo

transaction.” Id.

       87.     This requirement that the influence be “improper” or “corrupt,” i.e., in the nature

of a “quid pro quo,” is consistent with the Supreme Court’s recognition that “kickback” has an

established, circumscribed meaning under federal statutes, such as 41 U.S.C. § 8701(2), which

defines “kickback” as a thing of value given “for the purpose of improperly obtaining or rewarding

favorable treatment.” Skilling v. United States, 561 U.S. 358, 412-13 (2010) (emphasis added)

(citing also 18 U.S.C. § 666(a)(2) (“corruptly gives … anything of value … with intent to influence

or reward”), and 18 U.S.C. § 201(b) (same)).




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       The Proposed Copay Assistance Programs Do Not Violate the AKS or BIS

       88.       Pharmaceutical manufacturer copays to federal health insurance beneficiaries are

lawful under the AKS and BIS when, as in the case of tafamidis, the manufacturer does not

knowingly and willfully intend for those copays to improperly or corruptly influence the

prescribing or purchase of its product. Here, the proposed Programs do not meet either the

remuneration or inducement elements of the AKS and BIS.

       A.        The Proposed Copay Assistance Programs Do Not Involve Prohibited
                 Remuneration

            i.   The Copay Waivers Here Are Specifically Exempted from the Definition of
                 “Remuneration”

       89.       The financial assistance to be provided under the Proposed Copay Assistance

Programs meets each of the three requirements for the Copay Waiver Exception to the BIS and

AKS implementing regulations. 42 U.S.C. § 1320a-7a(i)(6)(A) (BIS); 42 C.F.R. § 1003.110 (AKS

implementing regulations). It would not be offered as part of any advertisement to solicit

prescriptions for tafamidis; rather, it would be offered only to patients diagnosed with ATTR-CM

who have already been prescribed tafamidis by their physician. Moreover, the waivers would not

be “routine,” as they instead would be granted on a case-by-case basis upon a documented

demonstration of financial need based on objective criteria.

       90.       Additionally, the proposed Programs meet the Access-to-Care Exception because

they increase access to necessary medical care and pose a low risk of harm to federal health care

programs. 42 C.F.R. § 1003.110 (definition of “remuneration”); 81 Fed. Reg. 88,368, 88,393

(Dec. 7, 2016):

       a.        The Proposed Copay Assistance Programs Do Not Interfere with Clinical

Decision-Making. Tafamidis is an FDA-designated “breakthrough therapy,” the only FDA-

approved medication for treatment of ATTR-CM, and the only treatment proven to reduce


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mortality and slow decline in function and quality of life for patients with this deadly disease. As

noted above, there are no realistic alternative treatments for the overwhelming majority of

Medicare patients suffering from ATTR-CM and any copay assistance would be available only

after the objective diagnostic and prescribing decisions of the patient’s treating physician. Under

those circumstances, copay assistance would not improperly alter clinical decision-making.

       b.      The Programs Promote Appropriate Utilization, Not Overutilization. As discussed

above, only patients diagnosed with ATTR-CM who are prescribed tafamidis on-label by their

physician and who have demonstrated financial need will be eligible for copay assistance. Thus,

the effect of the Proposed Copay Assistance Programs would not be to induce unwarranted

prescriptions, but to help ensure that appropriate patients have access to therapy regardless of their

ability to pay. The lack of alternatives to tafamidis also eliminates the concern that patients could

be locked into a particular product because of financial incentives. Any additional expenditure

required for tafamidis would be appropriate and necessary to allow patients suffering from a

debilitating and fatal condition to benefit from a breakthrough treatment that can extend life, as

evidenced by Medicare’s willingness to pay its share of tafamidis’ cost for patients covered by LIS

or beneficiaries who are able to afford their coinsurance obligations from their personal resources

or other third-party sources.

       c.      The Programs Promote Patient Safety and Quality of Care. For most patients with

ATTR-CM, tafamidis will be the best and only available treatment. The fact that the Programs

would increase access to tafamidis for appropriate patients would improve the quality of patient

care and patient outcomes. Copay support in this context—whether from an independent charity

or directly from Pfizer—is designed to allow doctors to make treatment decisions based on their




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patients’ best clinical interest, ensuring that financial need does not impede patient access to these

life-changing Medications.

           ii.   The Proposed Independent Charity Program, by Involving an Independent
                 Charitable Organization, Takes the Assistance Even Further from Remuneration

       91.       The proposed Independent Charity Program is even further outside the statutory

prohibitions of the AKS and BIS, because the ostensible remuneration would not be provided to

the person who would supposedly be induced.

       92.       The AKS and the BIS only encompass transfers of remuneration to a person in order

to corruptly induce or influence that person’s decisions about the provision of medical services

funded under a federal health care program. See 42 U.S.C. § 1320a-7b(b)(2)(B); 42 U.S.C.

§ 1320a-7a(a)(5). While the connection between the remuneration and the induced individual can

be “direct[] or indirect[],” 42 U.S.C. § 1320a-7b(b), there still must be a causal chain connecting

the two.

       93.       As OIG has long acknowledged in its guidance, making charitable donations to an

independent organization that facilitates access to medication does not qualify as prohibited

remuneration provided—even indirectly—“to” the person to be induced as long as the charity

remains independent and the donations are not intended to improperly induce the independent

organization to recommend or arrange for the purchase of the manufacturer donor’s federally

reimbursable items.      Precisely because the “bona fide charitable assistance programs” are

“independent,” the manufacturers that contribute to the independent charity are not providing

prohibited “remuneration” to any specific patient.

       94.       Nor does the fact that tafamidis is the only FDA-approved treatment option for

ATTR-CM change the analysis under the AKS’ and BIS’ remuneration prong, which hinges on

the bona fide independence of the charity, not the breadth of its charitable goals. Through guidance



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issued in both 2005 (the “2005 Guidance”) and 2014 (the “2014 Guidance”), OIG has

acknowledged the fact that “a disease fund includes only one drug or drugs made by one

manufacturer would not, standing alone, be determinative of an anti-kickback statute violation.”

70 Fed. Reg. 70,623-03, 70,627 n.19 (Nov. 22, 2005); 79 Fed. Reg. 31,120, 31,122 (May 30, 2014).

Once again, the independence of the charity means that the manufacturer has not provided

“remuneration” to the patient, even when a charitable fund, by its own design, supports only one

approved product.

        95.     OIG’s 2005 Guidance suggests that certain communications with independent

charities can undermine their independence and turn them into a “conduit” for manufacturers to

provide copay support to patients. 70 Fed. Reg. 70,623, 70,626-27 (Nov. 22, 2005). However,

merely communicating with a charity about the levels of funding or other means of making the

donation more effective does not eliminate that independence and transform those donations into

remuneration.

        B.      The Proposed Copay Assistance Programs Are Not Intended to Improperly Induce
                Prescriptions for Tafamidis

        96.     In the circumstances of the Proposed Copay Assistance Programs, patient

assistance would not “improperly” or “corruptly” influence the “reason or judgment” of a patient

to fill a prescription for tafamidis.

        97.     Under the Proposed Copay Assistance Programs, any offer of copay assistance will

occur only after a physician has diagnosed a patient with ATTR-CM on the basis of objective

criteria and prescribed tafamidis. Moreover, the fatal nature of the disease, and the absence of

alternative therapies, obviates concerns for over- or inappropriate utilization.        In these

circumstances, the Proposed Copay Assistance Programs will facilitate access to tafamidis, remove




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barriers to therapy, and encourage adherence to science-based treatment decisions. The Programs

will not improperly induce or influence either the physician’s or patient’s decision-making.

        98.     Patients who are diagnosed with ATTR-CM have only three options: (1) they can

live with a progressive, debilitating disease that results in death, typically within 2 to 3.5 years; (2)

they can see if they are medically eligible for a more expensive, more invasive, and more

dangerous dual heart and liver transplant; or (3) they can take a prescribed course of tafamidis.

Faced with those choices, the notion that the Proposed Copay Assistance Programs induce—much

less improperly induce—a patient to choose the third option is unsupportable.

  IN LIGHT OF OIG’S INTERPRETATION OF ANTI-FRAUD STATUTES, PFIZER
  CANNOT IMPLEMENT THE PROPOSED PROGRAMS WITHOUT SIGNIFICANT
             RISK OF INCURRING AN ENFORCEMENT ACTION

        99.     Notwithstanding the clear social and medical benefits of Pfizer’s Proposed Copay

Assistance Programs, which would allow middle-income Part D beneficiaries to access tafamidis

in the same way their wealthier and poorer fellow Medicare beneficiaries do, OIG’s overly broad

interpretation of the AKS and BIS prevents Pfizer from doing so. OIG’s interpretation is wrong,

and Pfizer’s Proposed Copay Assistance Programs are lawful as a matter of proper statutory

construction.

        100.    Congress enacted the AKS and BIS to combat health care fraud. OIG, however,

has adopted the view that the AKS and the BIS categorically prohibit pharmaceutical

manufacturers from providing direct copay assistance to Medicare patients (and other federal

health care beneficiaries), irrespective of whether such assistance would provide access to

critically needed medications, rather than improperly corrupt medical decision-making. This view

is clear from OIG’s guidance documents and enforcement history regarding pharmaceutical copay

assistance to Medicare patients, and from OIG’s rejection of Pfizer’s request for an advisory




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opinion supporting the Programs. OIG has further issued guidance that imposes severe limitations

on pharmaceutical manufacturers’ funding of, and communications with, independent charities

that provide financial assistance to Medicare patients.     The combination of OIG’s actions

effectively prevents Pfizer from implementing its proposed Programs, even though they do not

violate federal kickback laws.

       OIG’s Rejection of Pfizer’s Request for an Advisory Opinion Supporting Direct
       Copay Assistance for Tafamidis

       101.    Because many entities could reasonably fear that their common, lawful business

activities might arguably fall within the literal language of the AKS and BIS, even though they

raise no genuine concern of fraud, Congress enacted a process by which an entity could seek an

advisory opinion that its proposed conduct would not violate the statute. 42 U.S.C. § 1320a-7d(b).

The entity could also seek an advisory opinion that the proposed activity does not “constitute[]

grounds for the imposition of a sanction” of exclusion. 42 U.S.C. § 1320a-7d(b)(2)(E). Congress

went so far as to provide that the OIG’s opinion would be binding on both OIG and the requestor.

42 U.S.C. § 1320a-7d(b)(4)(A).

       102.    This highly unusual statutory procedure reflects Congress’s desire not to chill

socially beneficial behavior.

       103.    On June 27, 2019, Pfizer submitted to OIG a request for an advisory opinion on the

legality of both the Independent Charity Program and the Direct Copay Assistance Program.

       104.    On August 2, 2019, OIG rejected that request, indicating that it was “not able to

issue an advisory opinion” as to the Independent Charity Program “because ‘the same or

substantially the same course of action is under investigation, or has been the subject of a[n]




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[enforcement] proceeding involving [HHS] or another governmental agency.’”12 On August 26,

2019, after conferring with OIG, Pfizer resubmitted this request, limiting it to the Direct Copay

Assistance Program and excluding the Independent Charity Program.

         105.     On December 9, 2019, OIG orally informed Pfizer that it had reached an

unfavorable opinion on the Direct Copay Assistance Program because the Program would

implicate the AKS and BIS, and that OIG would issue an opinion to that effect if Pfizer did not

voluntarily withdraw the request.13

         106.     In response to OIG’s December 9, 2019 decision, Pfizer sought a further meeting

with OIG to explain why Pfizer believed its Direct Copay Assistance Program did not violate the

AKS or BIS, and, furthermore, why there was little risk of fraud or abuse given the particular

characteristics of tafamidis as the sole FDA-approved medication to treat ATTR-CM.

         107.     During a teleconference with OIG on March 30, 2020, and in a follow-up written

letter, Pfizer further clarified the steps it would take to ensure that the Direct Copay Assistance

Program would be limited to eligible beneficiaries of federal health care insurance who had been

objectively diagnosed with ATTR-CM, had been prescribed tafamidis by their physician, and were

only unable to access their medication due to financial need.

         108.     Nonetheless, on May 26, 2020, OIG informed Pfizer that its position was

unchanged and it would issue an unfavorable advisory opinion on the Direct Copay Assistance

Program if Pfizer did not voluntarily withdraw the request. OIG declined to provide Pfizer any


12
  Based on discussions with OIG, it is Pfizer’s understanding that the conduct under investigation was not Pfizer’s
donations to independent charities but the conduct of other companies.
13
   This is OIG’s common practice when it has reached an unfavorable decision on a request for advisory opinion.
See HHS OIG, Advisory Opinion FAQs (stating that OIG “generally find[s] that informal consultation with the
requesting parties helps us with our review and analysis of requests” and that it “will initiate discussions with a
requesting party’s designated contact person at the point at which we would find such discussions useful,” but also
noting that “regulations permit the requesting party to withdraw its request at any time before the opinion is
issued”), https://oig.hhs.gov/faqs/advisory-opinions-faq.asp (last visited June 25, 2020).



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feedback regarding how the Direct Copay Program could be modified such that OIG would give a

favorable opinion. Pfizer accordingly has no further administrative avenues of relief to pursue

with OIG.

        109.     OIG’s long-standing guidance, and its decision to reject Pfizer’s request for a

supportive advisory opinion on the proposed Programs, leave Pfizer unable to engage in its desired

conduct and with no avenues for further agency review. Absent this Court’s intervention, Pfizer’s

only options are to comply with OIG’s current interpretation of the AKS and BIS in its guidance,

or else, go forward subject to the significant and credible threat of enforcement. If the Court

declares, however, that the proposed Programs do not constitute prohibited “remuneration” or

result in any improper “inducement,” and thus do not violate either the AKS or BIS, then Pfizer

would be free to initiate the Programs.

        OIG Guidance Improperly Restricts Copay Assistance and Interactions with
        Independent Charity Programs that Benefit Medicare Patients

        110.     OIG has issued a series of guidance documents that establish its position that direct

copay assistance is prohibited by the AKS and BIS and establishing severe restrictions on

pharmaceutical manufacturers’ ability to fund and interact with independent charities that provide

financial support to federal health care beneficiaries. 14

        A.       OIG’s Limits on Direct Copay Assistance to Federal Health-Care Beneficiaries

        111.     In its 2005 Guidance, OIG stated its position that cost-sharing subsidies provided

by “pharmaceutical manufacturer” patient assistance programs to Medicare Part D patients to help

with out-of-pocket costs “would implicate the anti-kickback statute and pose a substantial risk of

program and patient fraud and abuse” under Medicare Part D. 70 Fed. Reg. 70,623-03, at 70,625


14
  The Health Care Fraud and Abuse Control Program, established by HIPAA, authorizes OIG to provide guidance
to prevent fraud and abuse. As part of this mandate, OIG issues Special Advisory Bulletins about industry practices
or arrangements that potentially implicate the fraud and abuse authorities subject to enforcement by OIG.



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(Nov. 22, 2005). Even more categorically, OIG stated that manufacturer “subsidies [for their Part

D drugs] would be squarely prohibited by the statute, because the manufacturer would be giving

something of value (i.e., the subsidy) to beneficiaries to use its product.” Id.

            112.     OIG has further stated its view that manufacturer copay assistance programs

“present all of the usual risks of fraud and abuse associated with kickbacks, including steering

beneficiaries to particular drugs; increasing costs to Medicare; providing a financial advantage

over competing drugs; and reducing beneficiaries’ incentives to locate and use less expensive,

equally effective drugs.” Id. On those bases, OIG concluded that such programs could cause

“[i]ncreased costs to the [Medicare] program” by inducing overutilization and could cause

“[b]eneficiary steering and anti-competitive effects” by “locking beneficiaries into the

manufacturer’s product, even if there are other equally effective, less costly alternatives (and even

if the patient’s physician would otherwise prescribe one of these alternatives).” Id. at 70,625-26.

            113.     OIG’s 2014 “Special Advisory Bulletin”15 further advised pharmaceutical

manufacturers that “copayment coupons” that “reduce or eliminate the cost of [patients’] out-of-

pocket copayments . . . constitute remuneration offered to consumers to induce the purchase of

specific items” and therefore, OIG found they implicate the AKS.                             OIG warned that,

“[p]harmaceutical manufacturers that offer copay coupons may be subject to sanctions” if they fail

to ensure that the coupons are not used by Part D beneficiaries. 16 That warning was categorical

without any indication that OIG would ever view copay coupons as permissible for federally



15
  HHS OIG, Special Advisory Bulletin – Pharmaceutical Manufacturer Copayment Coupons, (Sept. 2014),
https://oig.hhs.gov/fraud/docs/alertsandbulletins/2014/SAB_Copayment_Coupons.pdf. The Health Care Fraud and
Abuse Control Program, established by HIPAA, authorizes OIG to provide guidance to prevent fraud and abuse. As
part of this mandate, OIG issues Special Advisory Bulletins about industry practices or arrangements that potentially
implicate the fraud and abuse authorities subject to enforcement by OIG.
16
     Id. at 3.




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insured patients.17 Since that time, OIG and DOJ aggressively have enforced a policy of

prohibiting pharmaceutical manufacturers (but not others) from providing any form of copay

assistance to federal health care beneficiaries.

           114.    As OIG has acknowledged, Congress’s concern in adopting the AKS and BIS was

with providing financial advantages that might steer providers or patients to a particular drug over

competitors, or reduce incentives to locate and use less expensive, equally effective drugs, thus

reducing the effectiveness or increasing the costs of Medicare. 70 Fed. Reg. 70,623-03, at 70,625

(Nov. 22, 2005). Any analysis of whether a particular program is permissible should, therefore,

turn on those criteria. Yet, by imposing a blanket prohibition on manufacturer-funded copay

assistance, OIG has drawn an arbitrary line that hinges solely on who is providing the financial

assistance.       Meanwhile, under OIG’s guidance, if the person or entity providing financial

assistance were a wealthy relative or charity, the subsidy is acceptable. Though OIG has not

articulated its reasoning, its endorsement of third-party charitable assistance to Medicare patients

makes evident that OIG does not require patients to personally pay the out-of-pocket costs for their

prescribed medications. OIG’s categorical interpretation of the law barring manufacturers from

providing the same assistance to patients fails to recognize the possibility that, in some

circumstances—such as that presented by the proposed Programs—a manufacturer’s assistance

might improve health care by allowing patients to access needed medicines that they simply cannot

afford, without posing the risks the AKS and BIS were designed to address. In such circumstances,

a manufacturer may provide financial assistance to enable Medicare patient access to medicines

without falling within the scope of the AKS’s and BIS’s statutory prohibition.




17
     Id.



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        B.      OIG’s Restrictions on       Pharmaceutical Manufacturer’s Interactions with
                Independent Charities

        115.    As an alternative to direct copay assistance, OIG has recommended in guidance

that manufacturers contribute to independent charity patient assistance programs as an avenue to

assist financially needy Medicare Part D patients with their out-of-pocket costs. See 70 Fed. Reg.

70,623, 70,626-27 (Nov. 22, 2005) OIG noted that “[l]ong-standing OIG guidance makes clear

that pharmaceutical manufacturers can effectively contribute to the pharmaceutical safety net by

making cash donations to independent, bona fide charitable assistance programs.” Id. at 70,626.

        116.    However, OIG has sought to limit even that avenue for assistance. The OIG

guidance imposes severe restrictions on a pharmaceutical manufacturer’s communications with

and donations to independent charities that impede the manufacturer’s ability to bestow a

meaningful and effective gift by, for example, ensuring the charity has sufficient funds to cover

all patients who require assistance accessing treatment or medication. In particular, OIG’s 2005

Guidance provides that, “[p]harmaceutical manufacturers should not influence, directly or

indirectly, the identification of disease or illness categories, and pharmaceutical manufacturers

should limit their earmarked donations . . . that define categories in accordance with widely

recognized clinical standards and in a manner that covers a broad spectrum of available products.”

Id. Any discussions between a manufacturer and an independent charity regarding funding levels

or patient needs could be considered “attempting to influence,” thus violating OIG’s broadly

worded guidance and creating grounds for the government to assert an AKS or BIS violation. As

a consequence, independent charities often structure their funds to cover many products for a

number of related disease states, and there is no guarantee that the funds go to patients in need for

a particular disease state.




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          117.   Moreover, OIG’s 2005 Guidance stated that OIG would look with suspicion on

charities focused on a narrow disease category with only one treatment. Id. at 70,627. In its 2014

Guidance, OIG further tightened the 2005 Guidance and asserted that charities “with narrowly

defined disease funds” may be “subject to scrutiny” if the disease funds “result in funding

exclusively or primarily the products of donors or if other facts and circumstances suggest that the

disease fund is operated to induce the purchase of donors’ products.” 79 Fed. Reg. 31,120, 31,121

(May 30, 2014).

          118.   Following its 2014 Guidance, OIG issued a series of advisory opinions that imposed

new conditions on charities that had previously received favorable advisory opinions, requiring

the charities to certify that they would not provide help to patients through: (1) single disease

funds; or (2) single treatment funds.18

          119.   Both the 2005 and 2014 Guidance acknowledged that, in “rare circumstances,” a

disease may have only one effective treatment and therefore a disease fund could, in theory,

permissibly cover only one manufacturer’s product.” 70 Fed. Reg. at 70,627 n.19; 79 Fed. Reg.

at 31,122. OIG explained, in those “unusual circumstances,” the fact that “a disease fund includes

only one drug or drugs made by one manufacturer would not, standing alone, be determinative of

an anti-kickback statute violation.” 70 Fed. Reg. at 70,627 n.19; 79 Fed. Reg. at 31,122. OIG did

not further define, however, the circumstances in which such a fund is permissible, presumably

leaving entities to seek guidance through the advisory opinion process or to risk enforcement

action.




18
  See, e.g., Notice of Modification of OIG Advisory Opinion No. 02-1 (Mar. 03, 2017); Notice of Modification of
OIG Advisory Opinion No. 10-07 (May 05, 2016); Notice of Modification of OIG Advisory Opinion No. 04-15
(Dec. 30, 2015).



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           120.    The ambiguity in OIG’s guidance on single drug funds makes any charitable

copayment support by Pfizer for ATTR-CM patients virtually impossible without judicial

clarification of Pfizer’s legal rights. Under the government’s current enforcement regime, which

could result in considerable penalties, independent charities are reluctant to establish a fund for

ATTR-CM patients because the Medications are the only FDA-approved drug to treat the

condition. Under current OIG guidance, such a fund would be permissible if it also “provided

support for other medical needs of patients with the disease,” including all prescription medicines

to treat symptoms of the disease and side effects of treatment. 19 Still, the practical reality is that

OIG has never approved a so-called “single drug fund.” Moreover, given that four charities have

reached settlements with DOJ related to single drug funds in just the past three years, without

assurance that they will not face prosecution, none presently is willing to risk running afoul of

OIG’s opaque interpretations by establishing a fund for ATTR-CM patients. Pfizer therefore can

donate to independent charities that have established funds that cover a number of disease states

collectively, including ATTR-CM, but there is no guarantee that these donations would go to

ATTR-CM patients in need.

           Pfizer Faces Imminent Risk of Government Enforcement If It Implements Its
           Proposed Copay Assistance Programs

           121.    Notwithstanding OIG’s assertion that it would evaluate patient assistance

arrangements on a case-by-case basis,20 DOJ broadly has treated a company’s failure to adhere

strictly to OIG’s guidance on copay and charitable assistance as evidence of intent to violate the

AKS or BIS. This determination has serious implications for pharmaceutical manufacturers and



19
     See, e.g., OIG Advisory Opinion No. 10-07 (May 5, 2016).
20
  OIG has stated that “a determination regarding whether a particular arrangement violates the anti-kickback statute
requires a case-by-case evaluation of all the relevant facts and circumstances, including the intent of the parties.” 70
Fed. Reg. 70,623-03, 70,625 (Nov. 22, 2005).



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for patients who rely on financial support from such charitable programs, and it has effectively

foreclosed manufacturers from providing direct copay assistance to federal health-care

beneficiaries, including Medicare patients.

        122.     The consequences of an AKS or BIS conviction are Draconian, including the

possibility of a pharmaceutical manufacturer’s total exclusion from federal reimbursement for its

medications. A violation of the AKS or BIS may also serve as a predicate for violation of the

False Claims Act, which the government uses to assert a right to collect treble the value of the

products implicated, in addition to millions of dollars in statutory penalties. Because of the dire

consequences of False Claims Act, AKS, or BIS conviction, unless a pharmaceutical manufacturer

can persuade the government not to pursue the matter, it almost always is forced to resolve

investigations before they have had any opportunity to test the government’s expansive reading of

the AKS and BIS in court.

        123.     In fact, from December 2017 through January 2020, the government collected more

than $840 million in settlements with eight pharmaceutical companies (including Pfizer) and $13

million in settlements with four independent charitable foundations, in order to resolve allegations

of False Claims Act liability premised on AKS violations in connection with independent charities

or direct patient assistance.21 The government initiated these investigations on the premise that

direct copay assistance violates the AKS, and that companies that fail to follow OIG guidance on

donations to independent charity foundations are therefore presumptively attempting to pay for

patients’ copays in violation of the AKS.




21
  Depa’t of Justice, U.S. Att’y Office, Dist. of Mass., Fourth Foundation Resolves Allegations that it Conspired
with Pharmaceutical Companies to Pay Kickbacks to Medicare Patients, (Jan. 21, 2020),
https://www.justice.gov/usao-ma/pr/fourth-foundation-resolves-allegations-it-conspired-pharmaceutical-companies-
pay.



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         124.    Although OIG has acknowledged the important role that independent charities play

in the pharmaceutical payment system, OIG’s enforcement posture severely constrains the ability

of manufacturers to support those charitable programs to facilitate patients’ access to novel

treatments, much less to provide financial support directly. The threat of criminal prosecution and

other severe penalties in conjunction with an aggressive enforcement posture creates untenable

risk for companies to go forward with charitable support activities, even though the companies

believe those activities are lawful under the AKS and BIS. The result of this legal uncertainty is

reduced funding for and effectiveness of independent charities, which in turn, reduces the support

for needy patients to receive prescribed treatments.

         A.      Pfizer Is at Heightened Risk of Enforcement Because Its Corporate Integrity
                 Agreement Binds It to Follow OIG Guidance

         125.    On May 22, 2018, in resolution of an investigation of Pfizer’s prior contributions

to and interactions with independent charities, Pfizer and OIG entered into a Corporate Integrity

Agreement (“CIA”), which set forth mutual obligations between Pfizer and OIG. Among other

obligations, the CIA requires Pfizer to “comply with all guidance issued by OIG relating to the

support and funding of patient assistance programs,” including OIG’s 2005 and 2014 Guidance. 22

As a result, if OIG’s current position that the Proposed Copay Assistance Programs violate the

AKS and BIS stands, Pfizer would also be precluded from implementing the Programs under the

CIA.23

         126.    The CIA also imposes many restrictions on monetary donations by Pfizer to

independent charities and on Pfizer’s communications with those charities. For example, Pfizer


22
  HHS OIG, Corporate Integrity Agreement Between the Office of Inspector General of the Department of Health
and Human Services and Pfizer Inc., § III(B)(b) (May 23, 2018),
https://oig.hhs.gov/fraud/cia/agreements/Pfizer_Inc_05232018.pdf.
23
   The CIA obligates Pfizer to comply with OIG guidance, but does not waive Pfizer’s statutory and constitutional
rights to petition OIG or the Court for relief from policies that are outside OIG’s authority.



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may not influence the “identification, delineation, establishment, or modification of, or the

parameters relating to” any independent charity’s disease fund or its process or criteria for

determining eligibility of patients who qualify for its assistance program, may not solicit or use

any data or information from an independent charity to correlate the amount or frequency of its

donations, and may not provide donations for a disease state fund that covers only a single product

or that covers only Pfizer’s products.

       127.    OIG has discretion to determine whether Pfizer has violated the terms of its CIA,

and the potential consequences are severe. If OIG were to find that Pfizer violated the CIA, Pfizer

could be subject to potentially massive financial penalties, which increase each day that OIG

determines Pfizer to be in violation. Critically, if OIG determines that Pfizer has materially

breached the CIA, Pfizer could be subject to exclusion from participation in federal health care

programs, and “[t]he length of exclusion shall be in OIG’s discretion, but not more than five years

per material breach.” Even a slight risk of these consequences is untenable for any company in

the health care industry, let alone a global biopharmaceutical company.

       B.      OIG’s Rejection of Pfizer’s Request for A Favorable Advisory Opinion Regarding
               the Proposed Copay Assistance Programs Puts Pfizer at Heightened Risk of
               Enforcement

       128.    As detailed above, Pfizer has attempted to utilize OIG’s advisory opinion process

to secure approval of the proposed Programs, but to no avail: after a year-long process of

engagement with OIG, the agency has refused to issue any opinion with respect to the Independent

Charity Program and has informed Pfizer it has rejected the Direct Copay Assistance Program.

       129.    OIG’s unfavorable decision on Pfizer’s request for an advisory opinion exposes

Pfizer to increased risk of criminal and civil enforcement action from the government if it were to

implement the Programs.




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       130.    Without an advisory opinion permitting Pfizer to proceed with the Proposed Copay

Programs, Pfizer is bound by OIG’s current interpretation of the AKS and BIS, as articulated in

its guidance, and cannot proceed with the Programs without threat of enforcement and without

potentially violating its CIA.

   OIG’S CONSTRUCTION OF THE AKS OR BIS TO PROHIBIT THE PROPOSED
     COPAY ASSISTANCE PROGRAMS RAISES SERIOUS CONSTITUTIONAL
                            CONCERNS

       131.    The Proposed Copay Assistance Programs are protected by the First Amendment.

The proposed Independent Charity Program would include Pfizer’s communications with the

independent charity about its preferred charitable goals.                An independent charity’s

communications regarding the creation of a single-drug fund for tafamidis as a way of, among

other things, spurring increased charitable giving from Pfizer, is protected activity under the First

Amendment.

       132.    The AKS and BIS already prohibit kickbacks, bribes, and other inducements.

OIG’s prohibitions on speech incident to charitable giving and solicitation are thus layered on top

of these statutory prohibitions, ostensibly as further prophylaxis to prevent circumvention of the

statutes. See McCutcheon v. Fed. Election Comm’n, 572 U.S. 185, 203 (2014). But as the Supreme

Court has repeatedly explained, this “‘prophylaxis-upon-prophylaxis approach’ requires that we

be particularly diligent in scrutinizing the law’s fit,” because it likely burdens far more speech than

can be justified to achieve its legitimate goals. Id. at 221 (citation omitted). While OIG’s speech

restrictions may create clear “rules” about who can say what—and thus ease the burden of proving

AKS and BIS violations, thereby also creating another tool for forcing pre-trial settlements—those

ancillary benefits do not constitute a compelling government interest. Because that lone benefit is

not compelling, no amount of tailoring will suffice and, as a result, the rules imposed by OIG’s

guidance in this area violate the First Amendment.


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       133.    The speech restrictions are, in any event, overbroad. The communications Pfizer

proposes here allow an independent charity to better assist patients and more efficiently meet

patient needs. Particularly since ATTR-CM patients have no effective alternative to tafamidis,

such communications do not pose a significant risk to any compelling government interest.

       134.    Notably, Pfizer’s efforts to communicate with a charity in order to help that charity

assist patients in overcoming access barriers and affording their medications is the same kind of

speech that other organizations engage in; the Defendants may not constitutionally single out

pharmaceutical manufacturers’ speech for restriction.

       135.    Additionally, the government’s interpretation of the AKS and BIS in a manner that

significantly hinders access to life-changing medicine for patients with limited financial means,

while covering costs for wealthier patients, raises serious equal protection concerns. The purpose

of a public insurance program is to ensure that rich and poor alike have access to medical care.

Given how the cost-sharing structure of Medicare Part D functions, any construction of the AKS

and BIS to prohibit the Proposed Copay Assistance Programs would restrict patients’ access to

tafamidis solely on the basis of their economic status. In these circumstances, rationing Medicare

Part D beneficiaries’ access to tafamidis by prohibiting them from benefitting from Pfizer’s

Proposed Copay Assistance Programs would result in irrational discrimination against middle-

income Americans. In the absence of copay assistance, two Medicare beneficiaries—each with

the same medically certain diagnosis, each of whom could benefit equally from tafamidis—will

have significantly different experiences based on nothing other than their independent financial

resources. As a result, the government’s actions cannot stand under the Fifth Amendment.

       136.    The AKS and BIS and the associated regulatory scheme should be construed to

permit the Proposed Copay Assistance Programs and avoid these constitutional questions.




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                                               COUNT I

     Pfizer Is Entitled to a Declaration That the Proposed Copay Assistance Programs
                               Do Not Violate the AKS or BIS

                                           28 U.S.C. § 2201

        137.     Pfizer incorporates and re-alleges Paragraphs 1–136 as if fully set forth herein.

        138.     The Declaratory Judgment Act provides that “[i]n a case of actual controversy

within its jurisdiction, . . . any court of the United States, upon the filing of an appropriate pleading,

may declare the rights and other legal relations of any interested party seeking such declaration.”

28 U.S.C. § 2201(a).

        139.     The AKS and BIS do not prohibit the Proposed Copay Assistance Programs, at least

because those programs would not satisfy the remuneration and/or inducement elements of those

statutory schemes.

        140.     An actual controversy or a practicable issue exists between the parties, within the

jurisdiction of this Court and involving the rights and liabilities of the parties under the

Constitution and laws of the United States, which controversy may be determined by a judgment

of this Court.

        141.     Pfizer is an interested party to the government’s actions and is entitled to challenge

those actions.

        142.     Pfizer has exhausted all of its available administrative remedies and/or pursuit of

any further administrative remedies would be futile. Pfizer has no adequate remedy at law.

        143.     Pursuant to Fed. R. Civ. P. 57, the Court “may order a speedy hearing of a

declaratory-judgment action.” In consideration of the pressing and urgent need for early resolution

of this case, Pfizer hereby respectfully requests entry of a judgment in its favor on an expedited

basis as provided in Fed. R. Civ. P. 57.



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                                              COUNT II

    Pfizer Is Entitled to a Declaration That The Application of OIG’s Guidance To The
      Proposed Independent Charity Program Would Violate The First Amendment

                                           28 U.S.C. § 2201

        144.     Pfizer incorporates and re-alleges Paragraphs 1–143 as if fully set forth herein.

        145.     The Declaratory Judgment Act provides that “[i]n a case of actual controversy

within its jurisdiction, . . . any court of the United States, upon the filing of an appropriate pleading,

may declare the rights and other legal relations of any interested party seeking such declaration.”

28 U.S.C. § 2201(a).

        146.     If OIG prevented the Proposed Independent Charity Program, it would infringe on

Pfizer’s First Amendment right to engage in speech incident to charitable giving and would impose

impermissible speaker-based restrictions on Pfizer as a pharmaceutical manufacturer.

        147.     An actual controversy or a practicable issue exists between the parties, within the

jurisdiction of this Court and involving the rights and liabilities of the parties under the

Constitution and laws of the United States, which controversy may be determined by a judgment

of this Court.

        148.     Pfizer is an interested party to the government’s actions and is entitled to challenge

those actions.

        149.     Pfizer has exhausted all of its available administrative remedies and/or pursuit of

any further administrative remedies would be futile. Pfizer has no adequate remedy at law.

        150.     Pursuant to Fed. R. Civ. P. 57, the Court “may order a speedy hearing of a

declaratory-judgment action.” In consideration of the pressing and urgent need for early resolution

of this case, Pfizer hereby respectfully requests entry of a judgment in its favor on an expedited

basis as provided in Fed. R. Civ. P. 57.



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                                              COUNT III

    Pfizer Is Entitled to a Declaration That The Application of OIG’s Guidance To The
        Proposed Copay Assistance Programs Would Violate The Fifth Amendment

                                           28 U.S.C. § 2201

        151.     Pfizer incorporates and re-alleges Paragraphs 1–150 as if fully set forth herein.

        152.     The Declaratory Judgment Act provides that “[i]n a case of actual controversy

within its jurisdiction, . . . any court of the United States, upon the filing of an appropriate pleading,

may declare the rights and other legal relations of any interested party seeking such declaration.”

28 U.S.C. § 2201(a).

        153.     If OIG prevented the Proposed Copay Assistance Programs, it would discriminate

on the basis of wealth without being rationally related to a legitimate government interest.

        154.     An actual controversy or a practicable issue exists between the parties, within the

jurisdiction of this Court and involving the rights and liabilities of the parties under the

Constitution and laws of the United States, which controversy may be determined by a judgment

of this Court.

        155.     Pfizer is an interested party to the government’s actions and is entitled to challenge

those actions.

        156.     Pfizer has exhausted all of its available administrative remedies and/or pursuit of

any further administrative remedies would be futile. Pfizer has no adequate remedy at law.

        157.     Pursuant to Fed. R. Civ. P. 57, the Court “may order a speedy hearing of a

declaratory-judgment action.” In consideration of the pressing and urgent need for early resolution

of this case, Pfizer hereby respectfully requests entry of a judgment in its favor on an expedited

basis as provided in Fed. R. Civ. P. 5.




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                                             COUNT IV

 The Government’s Actions Preventing Pfizer’s Proposed Copay Assistance Programs Are
      Not in Accordance with Law and Contrary to Constitutional Rights under the
                            Administrative Procedure Act

                                            5 U.S.C. § 702

        158.    Pfizer incorporates and re-alleges Paragraphs 1–157 as if fully set forth herein.

        159.    The Administrative Procedure Act allows a person suffering a wrong or adversely

affected by an agency action to receive judicial review of the agency’s action. 5 U.S.C § 702. The

reviewing court must set aside an agency’s action that is “not in accordance with law” or “contrary

to constitutional right.” 5 U.S.C. § 706(2)(A) & (B).

        160.    OIG has engaged in series of actions that establish its position that it is illegal under

the AKS and the BIS for Pfizer to implement its proposed Programs to assist ATTR-CM patients

through (1) its 2005 and 2014 guidance; (2) its enforcement history; and (3) its refusal to grant

Pfizer a favorable advisory opinion.

        161.    The AKS and BIS do not prohibit the Proposed Copay Assistance Programs

because those programs do not meet the remuneration or inducement elements of those statutory

schemes. The government’s restrictions on pharmaceutical copay assistance generally, and its

refusal to provide an advisory opinion affirming that the proposed Programs are not grounds for

sanctions under the AKS or BIS, are therefore not in accordance with the law.

        162.    The government’s actions infringe on Pfizer’s First Amendment right to engage in

speech incident to charitable giving and impose impermissible speaker-based restrictions on Pfizer

as a pharmaceutical manufacturer.         The government’s actions are therefore contrary to a

constitutional right.




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        163.   The government’s actions discriminate on the basis of wealth without being

rationally related to a legitimate government interest. The government’s actions are therefore

contrary to a constitutional right.

        164.   In combination with its other actions, OIG’s determination that the Proposed Copay

Assistance Programs implicate the AKS and BIS is final agency action that prevents Pfizer from

lawfully engaging in the Proposed Copay Assistance Programs.

        165.   Pfizer has exhausted all of its available administrative remedies and/or pursuit of

any further administrative remedies would be futile.

        166.   Pfizer is entitled to challenge the government’s actions. 5 U.S.C. §§ 701-706.

        167.   Pfizer has no adequate remedy at law.

        168.   Accordingly, Pfizer seeks a judgment setting aside OIG’s determination that the

Proposed Copay Assistance Programs implicate the AKS or BIS.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully prays that this Court:

        169.   Declare that the Proposed Copay Assistance Programs do not violate the AKS or

BIS;

        170.   Declare that the application of OIG’s Guidance to the Proposed Copay Assistance

Programs would violate the First Amendment to the U.S. Constitution;

        171.   Declare that the application of OIG’s Guidance to the Proposed Copay Assistance

Programs would violate the Fifth Amendment to the U.S. Constitution;

        172.   Set aside OIG’s determination that the Proposed Copay Assistance Programs

implicate the AKS and BIS as not in accordance with law and contrary to a constitutional right;

        173.   Award Plaintiff such costs and reasonable attorney’s fees to which it might be

entitled by law; and


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      174.   Award such other relief as this Court may deem just and proper.


Dated: June 26, 2020                  Respectfully submitted,


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